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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

OMAR S. FOLK, - Civil No. 3:18-cv-2252
Plaintiff - (Judge Mariani)
; .

BUREAU OF PRISONS, et ai,
Defendants
ORDER
AND NOW, this pe day of January, 2021, upon consideration of Plaintiff's
motion (Doc. 86) for appointment of counsel, and in accordance with the Memorandum
issued this date, IT Is HEREBY ORDERED THAT the motion (Doc. 86) is DENIED without

prejudice.

  
  

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Robert D.\Mafiani
United States District Judge
